
134 Cal.App.2d 552 (1955)
In re ROBERT ANDERSON, on Habeas Corpus.
Crim. No. 3168. 
California Court of Appeals. First Dist., Div. One.  
July 26, 1955.
 Robert Anderson, in pro. per., for Petitioner.
 No appearance for Respondent.
 THE COURT.
 The petitioner did not raise the question of a possible violation of section 1382 of the Penal Code in the trial court, nor did he move to dismiss in that court under that section. The point was not raised on the appeal (People v. Anderson, 126 Cal.App.2d 702 [272 P.2d 805]), and but imperfectly mentioned on the petition for hearing. The United States Supreme Court denied certiorari. (348 U.S. 918 [75 S.Ct. 302, 99 L.Ed. 209].)
 [1] Under well settled principles, the right to a speedy trial may be waived. [2] When a defendant does not object in the trial court, and fails to move to dismiss in that court, the point cannot be raised on appeal, and, of course, not on habeas corpus. (People v. Workman, 121 Cal.App.2d 533 *553 [263 P.2d 458]; People v. Greene, 108 Cal.App.2d 136 [238 P.2d 616]; In re Alpine, 203 Cal. 731 [265 P. 947, 58 A.L.R. 1500].)
 The petition for a writ of habeas corpus is denied.
